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                        Exhibit H




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             Florida Livestock Auction Market Invoices
                   For Oak Lake/Eastern Invoice
                             No. 291248




             Len Miller




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                                   CENTRAL PRINTING CO. INC. ·LOUISVILLE, KY 40203 • (502) 774-4446
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             Florida Livestock Auction Market Invoices
                   For Oak Lake/Eastern Invoice
                             No. 291254




              Len Miller




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                                   EASTERN LIVESTOCK CO.
                                BRANCH # 22 TEL (863) 763-5600
                                P.O. Box 1284 FAX (863) 763-7468
                                 OKEECHOBEE, FLORIDA 34973
                                          505.356.2788
                                    CATTLE WORKSHEET
DATE       29-0ct-10                                          INVOICE# _ _ _ _ _ _....;;2;;.;;9~12;;.;;5;..;...4
 SHIP TO: LEN MILLER
          1949 N.ROOSEVELT RD. RT.1
          PORTALES , NM. 88130

 SORT#         HEAD         WEIGHT          AMOUNT                      COST OF CATTLE
    32X               137       49,830         $50,385.01 INVOICE AMOUNT                         $57,980.38
     2X                 1          225            $207.00 CAITLE                                 $50,592.01
                                                           TRUCKING                               $5,392.76
                                                                 COMM(/cwt)                         $288.70
                                                                 COMM(/cwt)
                                                           MISC EXPENSE
                                                           (YPlEAGBAY                                $274.00
                                                          I(VP}EAGBAY
                                                           (FL)EAGBAY




                                                            CLEARING ( /cwt)                         $250.28
                      138       50,055         $50,592.01   P&L                                  $1,182.63

  MILES        RATE              TOTAL                      DELIVER:               PORTALES,NM.
                                $5,392.76

TRUCKER: SIZEMORE




Sort# Head Weight Average Total$       Cost/# lnv$/#                        New$Total Ave./hd
32X    137 49,830      364 $50,385.01 1.0111      1.1588                     $57,743.00      $421.48
2X       1     225    225     $207.00 0.9200      1.0550                        $237.38      $237.38
    0    0       0 #DIV/0!       $0.00 #DIV/0!                                    $0.00  #DIV/0!
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       138 50,055          $50,592.01                                        $57,980.38




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